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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 DAVID WHITT,                                    )
                                                 )
      PLAINTIFF,                                 )
                                                 )
 v.                                              )    Case No. 4:18-CV-01294
                                                 )
 CITY OF ST. LOUIS, et al.,                      )
                                                 )
      DEFENDANT.                                 )


      DEFENDANT’S REPLY IN SUPPORT OF THEIR MOTION FOR PROTECTIVE
                                 ORDER
        COMES NOW Defendant City of St. Louis (“City”) and for its reply in support of its

motion for protective order states:

Topic 6.
        City maintains its objections that Topic 6 does not comport with Rule 30(b)(6) because it

is overly broad, ambiguous, argumentative, and not sufficiently particularized in that it does not

put the designee on sufficient notice as to the testimony he or she will be asked to provided.

        In his response, Plaintiff insinuates he needn’t state with particularity what is intended by

Topic 6’s request for “City and SLMPD policies, procedures, customs and directives regarding the

arrest of persons engaged in First Amendment activity” because the case Catholic Mut. Relief Soc'y

of Am. v. Arrowood Indem. Co., 2019 U.S. Dist. LEXIS 173877 (D. Minn. Jan. 9 2019), cited by

City for its rule language, is inapposite to the facts of this case. Notably, City’s motion does not

analogize Catholic Mutual to the facts of this case; instead, City uses the case to demonstrate the

widely-held rule that corporate representative deposition topics must be stated with reasonable

particularity so as to make it possible for a party to designate and fully prepare a corporate

representative with knowledge regarding the topics as noticed. See Catholic, 2019 U.S. Dist. at

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*8-9; see also, E3 Biofuels, LLC v. Biothane, LLC, No. 8:11CV44, 2013 U.S. Dist. LEXIS 115521,

2013 WL 4400506, at *4 (D. Neb. Aug. 15, 2013) (“In order for Rule 30(b)(6) to function

effectively, the requesting party must take care to designate, with painstaking specificity, the

particular subject areas that are intended to be questioned, and that are relevant to the issues in

dispute. Only when the requesting party has reasonably particularized the subjects about which it

wishes to inquire can the responding party produce a deponent who has been suitably prepared to

respond to questioning within the scope of inquiry.”). Because Plaintiff has failed to state with

reasonable particularity what is meant by Topic 6, City is unable to prepare a deponent to speak

on the topic, and therefore, City’s motion for protective order on this point should be granted.

       Additionally, City has already produced representatives on the SLMPD policy which

specifically addresses First Amendment conduct within the context of Plaintiff’s claim – namely,

Special Order 1-06, entitled “Recording of Police Activity.” Plaintiff’s claims are specific to the

alleged retaliation and false arrest of Plaintiff for recording police activity; his claims are not

related to all First Amendment activities. (See Doc. 38, Count III, ¶¶ 57-65). First Amendment

activities could include a myriad of conduct, and because Topic 6 is not sufficiently particular, it

requires City to guess as to which First Amendment activity is intended, thereby making it

impossible to designate and prepare a corporate representative. Because City has already produced

representatives to speak on SO 1-06 and City cannot be expected to designate a representative to

speak on all First Amendment activities, City’s protective order as to Topic 6 should be granted.

Topic 9 & 10.
       Topics 9 & 10 remain vague and ambiguous, as well as duplicative and burdensome.

       As to Topic 9, Plaintiff argues that the language of the topic is not vague and ambiguous

as City has not objected to similarly worded requests before. Plaintiff misses the mark here. Topic

9 topic is vague and ambiguous in the context of City not having produced such

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training/educational materials. In the context of there being no training/educational materials

related to the interference ordinance, other than the ordinance itself, it is unclear what a corporate

representative is to talk about. Put another way, a corporate representative cannot be designated to

speak on materials that don’t exist. Even if such materials existed, Topic 9 fails to describe with

particularity what information about the materials is being sought.           Because there are no

training/educational materials related to City’s interference ordinance, and because Plaintiff has

failed to describe what information he seeks about the materials, Topic 9 is vague and ambiguous.

         As to Topic 10, Plaintiff seeks someone to speak to SLMPD’s “policies and procedures

relating to the filming of the officers by citizens, including SO 1-06.” As stated above, City has

identified only one SLMPD policy regarding the filming of officers by citizens – namely, SO 1-

06. Plaintiff has already deposed two corporate representatives to testify regarding SO 1-06, and

Plaintiff continually fails, even in his response, to explain what additional information about SO

1-06 is being sought by Topic 10. Plaintiff alleges that Topic 10 is distinguishable from the other

topics about SO 1-06 for which City has produced a corporate representative because it seeks

information regarding the content of SO 1-06. This argument fails, however, because the content

of SO 1-06 speaks for itself, and Plaintiff’s request is unclear as to what additional information is

sought about the content of SO 1-06. Because Topic 10 is unclear what additional information

Plaintiff seeks in regards to SO 1-06, City’s motion for protective order should be entered on this

point.

Topics 14 & 15.
         City maintains its objections as to Topics 14 & 15.
         In response to City’s objections to Topic 14’s request for “any and all policies produced in

response to Plaintiff’s First Request for Production,” Plaintiff claims that because City has

correctly deduced that this topic is intended to seek information about SO 6-02, the topic suffices

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as a corporate representative topic. Not so. The mere identification of a policy, without more,

should not serve as a corporate representative topic because the identification of a policy in that

context could mean any number of things – who drafted the policy, when the policy was drafted,

why it was drafted, who approved of the policy, who is the policy for, how are individuals informed

of the policy, whether the provisions of the policy are enforced, how it is enforced, who enforces

it, are people trained on the policy, how are they trained, who are the trainers, etc. There is rarely,

if ever, just one person in a department as large as the St. Louis Metropolitan Police Department,

who can speak to all things involving a policy. Thus, depending on what information Plaintiff

seeks, there may need to be more than one representative designated to speak on a policy. But

without the particularity of what information is sought from a policy – like SO 6-02 or SO 1-06 –

City cannot designate a representative. The contrast of Topics 10 & 14 with Topics 12/13, 17 &

18 emphasize this point.        For topics 12/13, 17 & 18, City could and did designate two

representatives to speak about particularized information regarding SO 1-06 – namely, how the

policy is enforced and how SLMPD ensures compliance with its policy. But because Topic 10 &

14 are vague and ambiguous as to what information is being sought about the policies at issue,

City cannot designate a representative as to these topics.

        In Topic 15, Plaintiff argues that City has understood his topic because it guessed correctly

as to what Plaintiff may have meant by “SLMPD’s organizational structure or operational

relationship to the City.” Notably, it should not be for City to guess at what information Plaintiff’s

corporate representative topics seek, and its correct guess at one possible aspect of Topic 15 does

not indicate that the topic is clear or that it sufficiently states with reasonably particularity the topic

at hand. Nevertheless, if, as Plaintiff suggests, he seeks a representative to merely state the fact

that SLMPD is a division of the City’s Department of Public Safety, then City is happy to produce



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someone under oath to testify to exactly that. But City objects to Plaintiff going beyond that fact

because Topic 15 is vague and ambiguous as to what information about SLMPD being a division

of the Department of Public Safety is being sought.

Topic 19.
       Topic 19 remains unduly burdensome; alternatively, Topic 19 should be limited in scope

only to those incidents which occurred prior to Plaintiff’s arrest.

       Plaintiff claims the burden of Topic 19 is proportional to the needs of the case because

Plaintiff has brought a Monell claim against City. At this point, City must reiterate that Plaintiff’s

30(b)(6) notice was not accompanied by a request for documents or a subpoena duces tecum.

Therefore, City has no obligation to produce documents responsive to this topic. See Bank of

America Nat'l Trust & Sav. Asso. v. Loew's International Corp., 18 F.R.D. 489, 1956 U.S. Dist.

LEXIS 4374 (D.N.Y. 1956) (“In absence of subpoena duces tecum or motion under Rule 34,

plaintiffs may ignore with impunity that part of notice of taking depositions which requires

production of designated documents.”). Moreover, while true that Plaintiff has brought a Monell

claim against City, the bringing of said claim does not permit Plaintiff to impose an undue burden

on City. Rule 26(c). Notably, what Plaintiff requests from Topic 19, City does not have. Topic

19 requests “data or statistics maintained by SLMPD or the City relating to or reflecting, over the

last six years: (a) the number of individuals arrested for taking video of police officers and charged

with violation of 15.10.010 of the St. Louis City Municipal Ordinance Code and (b) the outcome

of those charges.” SLMPD does not maintain such data. While SLMPD is able to access

information from which said data and statistics may be extracted, the assembly of said information

would cause undue burden to SLMPD personnel for approximately six weeks. (Doc. 83-3).

       Alternatively, this Court should limit the scope of Plaintiff’s request to only those arrests

that occurred before Plaintiff’s arrest – so from January 1, 2014 to August 8, 2016. Plaintiff

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acknowledges that district courts in this jurisdiction have refused to consider after-the-harm

incidents as relevant evidence of a Monell claim. (See Doc. 86, p. 13). Indeed, the Eighth Circuit

analyzes evidence of Monell claims to the extent that prior similar events have occurred. In

Andrews v. Fowler, 98 F.3d 1069, 1074-75 (8th Cir. 1996), for example, a case in which a plaintiff

brought a Monell claim against a city for failing to address police misconduct specific to sexual

assault, the Court emphasized more than seven times the need for prior similar incidents to survive

a challenge of the plaintiff’s Monell claim:

      “The city may be subject to § 1983 liability for failing to act on complaints of sexual

       misconduct by police department employees only if it had a policy or custom of failing to

       act upon prior similar complaints of unconstitutional conduct, which caused the

       constitutional injury at issue.” Id. at 1074-75.

      “There must exist a prior pattern of unconstitutional conduct that is so persistent and

       widespread as to have the effect and force of law.” Id. at 1075.

      “To establish a city's liability based on its failure to prevent misconduct by employees, the

       plaintiff must show that city officials had knowledge of prior incidents of police

       misconduct and deliberately failed to take remedial action.” Id.

      “We agree with the district court's conclusion that Andrews failed to demonstrate a city

       policy or custom of failing to act on or investigate prior complaints of sexual abuse by

       police officers.” Id.

      “This evidence does not indicate a city custom or policy of failing to act on prior

       complaints.” Id.




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      “The two specific prior complaints against Fowler and the various rumors that do not

       implicate a particular officer pale in comparison to the type of prior complaints that we

       have previously held supported a verdict against a city.” Id. at 1076.

      In this case, however, there is no evidence that the city ever had received, or had been

       deliberately indifferent to, complaints of violence or sexual assault on the part of an officer

       prior to the time Fowler raped Kristi Andrews. Id.

   Thus, it is well-established law in the Eighth Circuit that a Monell claim is established by the

existence of similar incidents occurring prior to the harm alleged, and thus, prior incidents are the

only incidents relevant to Plaintiff’s claims. Based on these facts, if this Court determines that

Topic 19 is not unduly burdensome, the topic should be limited in scope to incidents occurring

prior to Plaintiff’s arrest on August 8, 2016.

Topic 20.
       Implicitly, Plaintiff argues that City did not investigate this matter before filing a

responsive pleading, and therefore, wishes to learn from City the “factual basis” for its answer to

some paragraphs of his complaint. City does not respond to pleadings without first conducting a

basic investigation into a plaintiff’s claims, which may include a review of the complaint, a review

of any obviously relevant documents or media (like a police report or video), and discussions with

clients, so as to respond to a pleading accurately. That process was followed in this matter. City’s

response to Plaintiff’s complaint is the result of facts learned from its initial investigation. To

suggest, as Plaintiff seems to, that City could not have had some basic understanding of the facts

in this case with which to answer his complaint, is simply false as City had access to much of what

has been discovered in this case upon filing its answer – namely, documents and officer accounts

of the incident, which support City’s answer to Plaintiff’s Complaint. Notably, in his response,



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Plaintiff fails to identify any one paragraph for which he currently lacks the factual basis of City’s

response. Hence, City’s motion for protective order on this point should be granted.

       WHEREFORE, City requests this Court grant its motion for protective order, and for any

other relief this Court deems just and proper under the circumstances.




                                               Respectfully submitted,


                                               MICHAEL GARVIN
                                               CITY COUNSELOR

                                           By: /s/ Abby Duncan
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                                 CERTIFICATE OF SERVICE
       I hereby certify this Motion was electronically filed on this 12th day of November 2020
with the Court for service by means of Notice of Electronic Filing upon all attorneys of record.


                                                              /s/ Abby Duncan




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